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                                CERTIFICATE OF REVIEW


       The United States Trustee has reviewed the foregoing report and account, and the
attachments thereto, and has no objections to the same.



DATED: February 7, 2019                          William K. Harrington
                                                 United States Trustee, Region 1


                                                 By: /s/ Beverly A. Patterson
                                                 Beverly A. Patterson
                                                 Paralegal Specialist
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